
Moncure, P.,
delivered the opinion of the court.
The court is of opinion that the word “seal” has the same force and effect as a “scroll” in the true intent and meaning of the Code, which declares, that “ any writing to which the person making it shall affix a scroll by way of seal, shall be of the same force as if it were actually sealed.” Code of 1849, ch. 148, § 2, p. 580. And the persons making the writing on which this action is founded, having severally annexed to their names subscribed to the said writing the said word “seal;” and having clearly indicated in the body of the said writing, their intention to make it a sealed instrument, by using therein the words: “ as witness our hands and seals,” &amp;c.; the court is of opinion that the said writing is a sealed instrument accordingly. See 2 Bob. Pract., ch. 1, pp. 2-8, and cases therein cited.
Therefore it is considered by the court that there is no error in the said judgment; that the same be affirmed; and that'the plaintiffs in error, John T. Lewis and Bichard B. Lewis, executors of John Lewis, out of the estate of their said testator in their hands to be ad*629ministered, do pay Jo John A. Coke administrator de bonis non with the will annexed of Eobert Y. Overby, dec’d, damages according to law and his costs by him about his defence in this court expended.
Which is ordered to be certified to the circuit court of Mecklenburg.
Judgment affirmed.
